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     AARON E. DE LEEST (State Bar No. 216832)
     adeleest@DanningGill.com
     DAMNING, GILL,ISRAEL & KRASNOFF,LLP
     1901 Avenue ofthe Stars, Suite 450
     Los Angeles, California 90067-6006
     Telephone: (310)277-0077
     Facsimile: (310)277-5735

     Attorneys for Michael A. McConnell,
     Chapter 11 Trustee


                             UNITED STATES BANKRUPTCY COURT

 q                            CENTRAL llISTRICT OF CALIFORNIA

10                                     NORTHERN DIVISION

11                                                   Case No.: 9:19-bk-11573-MB

12                                                   Chapter 11

13                                                   TRUSTEE'S NOTICE OF MOTION AND
                                                     MOTION FOR ORDER TERMINATING
14                                                   EMPLOYMENT OF EPIQ
                                                     BANKRUPTCY SOLUTIONS,LLC;
15                                                   MEMORANDUM OF POINTS AND
                                                     AUTHORITIES,DECLARATIONS OF
16                                                   MICHAEL A. McCONNELL AND
                                                     AARON E. DE LEEST,AND REQUEST
17                                                   FOR JUDICIAL NOTICE IN SUPPORT
                                                     THEREOF
18
                                                     Date:    December 20,2019
19                                                   Time:    10:00 a.m.
                                                     Place:   Courtroom 201
                                                              1415 State Street
                                                              Santa Barbara, California
21

22

23 TO THE HONORABLE MARTIN BARASH,UNITED STATES BANKRUPTCY JUDGE,

24 AND INTERESTED PARTIES:

25           PLEASE TAKE NOTICE that on December 20, 2019, at 10:00 a.m., Michael A.

26 McConnell, the Chapter 11 trustee (the "Trustee")for the estate of HVI Cat Canyon,Inc.(the

27 "Debtor"), hereby moves for an order terminating the services of EPIQ Bankruptcy Solutions, LLC

28 ("EPIQ"), effective as of October 21, 2019, the date ofthe Trustee's appointment.


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 1           This Motion is made on the grounds that EPIQ was retained by the Debtor, prior to the

 2 Trustee's appointment, to act as the Debtor's claims and noticing agent for the Debtor and the

 3 ~ Trustee no longer requires its services. By this motion, the Trustee seeks authorization to terminate

 4 EPIQ's service effective as of October 21, 2019, on the grounds that its services are not necessary.

 5           This Motion is based upon the accompanying Memorandum of Points and Authorities, the

 6 accompanying Declarations of Michael A. McConnell and Aaron E. de Leest and the Request for

 7 Judicial Notice, the papers and pleadings on file in this case, and such other evidence that may be

 8 presented to the Court.

 9           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-

10 1(a)(7), any opposition to the Motion must be in writing in the format required by the Local

1 1 Bankruptcy Rules, filed with the Clerk of the Court and served upon counsel for the Trustee, at the

12 address in the upper left corner of the face of this Notice, upon the United States Trustee,

13 1415 State Street, Suite 148, Santa Barbara, CA 93101, not less than fourteen (14) days before the

14 hearing. Failure to comply with this procedure may be deemed consent to the granting of the relief

15 requested

16

17 DATED: November z~, 2019                   DAMNING,GILL,ISRAEL & KRASNOFF,LLP

18

19                                            By:
20                                                  AARON E. DE LEEST
                                                    Attorneys for Michael A. McConnell,
21                                                  as Chapter 11 Trustee
22

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 1                            MEMORANDUM OF POINTS AND AUTHORITIES

 2                                                       I.
 3                                          BACKGROUND FACTS
 4 A.          The Bankruptcy Case
 5             The Debtor is a Colorado corporation authorized to conduct business in the state of
 6 California. It is the owner and operator of producing oil and gas interests in California.

 7             On July 25, 2019, the Debtor filed a voluntary petition for relief under Chapter 11 of title 11
 8 ofthe United States Code (the "Bankruptcy Code"). The case was originally filed in the Southern

 9 District of New York. The case was transferred to the Northern District of Texas, and then later to

10 the Central District of California.

11             The Debtor initially operated its business as a "debtor in possession," until on or about
12 October 16, 2019, when the Court entered its Agreed Order Granting Motion for Appointment of a

13 Chapter 11 Trustee. On or about October 21, 2019, the Court approved the appointment of

14 Michael A. McConnell as the Chapter 11 trustee in this case.

15             On or about August 9, 2019, an Official Creditor's Committee was appointed.
16 B.          Facts Specific to the Requested Relief
17             Pursuant to an order entered on August 9, 2019 (doc, no. 3~,the Court authorized the
18 Debtor to employ EPIQ Bankruptcy Solutions, LLC("EPIQ") as its claims and noticing agent,

19 among other things, to perform noticing services for the Debtor. Exhibit "1" to the Declaration of

20 Michael A. McConnell. The Trustee has received bills aggregating approximately $72,000 from

21 EPTQ fir services in July, August, and September, 2019--before the Trustee's appointment.

22 I Exhibit "2" to the Declaration of Michael A. McConnell.

23 I           The Trustee does not require the services of EPIQ and has terminated their services
24 effective as of October 21, 2019. On or about November 15, 2019, the Trustee formally advised

25 EPIQ that its services would not be needed. Exhibit "3" to the de Leest Declaration.

26             On or about November 21, 2019, the Court authorized and requested that the Trustee file
27 the within motion requesting termination of EPIQ as the Debtor's claims and noticing agent.

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 1            The Court noted at the hearing that the order appointing EPIQ provides EPIQ "shall not

 2 cease providing claims processing services during the chapter 11 case for any reason, including

 3 nonpayment, without an order ofthe Court".

 4

 5                                                     II.

 6i                                              ARGUMENT

 71           Pursuant to its agreement with the Debtor, EPIQ was retained by the Debtor, on an as-

 8 needed basis, to act as the Debtor's claims and noticing agent. The Trustee seeks to terminate

 9 EPIQ's services on the basis that the services are not needed by the Trustee and requests that the

10 Court authorize the Trustee to terminate EPIQ's services, effective as of October 21, 2019.

11

12                                                     III.

13                                              CONCLUSION

14            For the foregoing reasons, the Trustee requests that the Court enter an order authorizing the

15 Trustee to terminate the services of EPIQ Bankruptcy Solutions, LLC,effective as of October 21,

16 2019. The Trustee also requests such other and further relief as is just and proper under the

17 circumstances.

18

19 DATED: November Z?,2019                       DAMNING,GILL,ISRAEL & KRASNOFF,LLP

20

21                                               By:
22                                                     AARO . DE LEEST
                                                       Attorneys for Michael A. McConnell,
23                                                     Chapter 11 Trustee
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  I                               DECLARATION OF MICHAEL A.IVIcCONNELL

  2              I, Michel A. McConnell, declare ~s follows:

  3              1.        I am over eighteen years of age, and I have personal knowledge of the facts in this

         declaration and, if called as a ~vitness, could testify competently that the facts stated in this

  5 declaration are true and correct to the best of my knowledge and information.

  6 ~,           2.        Tam the Chapter 11 Trustee of the Bankruptcy Estate oP I-IVI Cat Canyon, lnc.(the

  7 "Debtor"). I make this declaration in support of the Trustee's Motion For Order Terminating the

  8 Services of ~;PIQ Bankruptcy Solutions, LLC (the "Motion").

  9              3.        Attached hereto as exhibit "1"and incorporated herein by reference is a copy of ttie

 10 order entered on August 9, 2019 employing EPIQ.

 11 ~            4.        On or about November 1, 2019, I received bills from EPIQ, true and correct copie:~

 12 of which are attached hereto, marked as Exhibit "2" and incorporated herein by this reference.

 13              5.        In my business judgment, I da not require the services of EPIQ and requested that

  14 my counsel terminate those services as of the date of my appaintnient, October 21, 2019.

  15             6.        At a hearing on or about November 21, 2019, the Court authorized and requested

  16 that Y file the within motion rec~uestin~; termination of EPTQ as the Debtor's claims and noticing

  17 agent.

  18
                                                                                                              is
  19             7 declare under penalty of pegjury under the laws o~'the United States dzat the foregoing

 20 true znd correct to the best of my knawledge, information and belief
                                        y ~~
 ?~         E:ceeuted an November ~l, 2019 at Fort Wortli, Te~cas.

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  24
                                                             MICHAEL f1 McCO             ELL
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 1                              DECLARATION OF AARON E. DE LEEST

2          I, Aaron E. de Leest, declare as follows:

3           1.     I am an attorney duly admitted to practice before this Court. I am associated with

4 banning, Gill, Israel &Krasnoff, LLP, attorneys of record for Michael A. McConnell, Chapter 11

5 Trustee. I have personal knowledge of the facts set forth herein, and if called as a witness, I could

6 and would competently testify thereto. I make this declaration in support of Trustee's Notice of

7 Motion and Motion for Order Terminating Employment of EPIQ Bankruptcy Solutions, LLC.

8          2.      I sent a letter to EPIQ dated November 15, 2019 informing EPIQ that its services

9 would not be needed by the Trustee. Attached hereto as Exhibit "3" is a true and correct copy of

10 the letter I sent to EPIQ.

11

12         I declare under penalty of perjury under the laws of the United States of America that the

13 foregoing is true and correct.

14         Executed on this 27th day of November, 2019, at Los Angeles, California.

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16
                                                       Aaron E. de Leest
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 1                                 REQUEST FOR JUDICIAL NOTICE

 2            Michael A. McConnell, the chapter 11 trustee (the "Trustee")for the estate of HVI Cat

 3 Canyon, Inc.(the "Debtor"), requests that the Court take judicial notice of the following:

 4            1.     On July 25, 2019, the Debtor filed a voluntary petition for relief under Chapter 11 of

 5 title 11 ofthe United States Code (the "Bankruptcy Code"). The case was originally filed in the

 6 Southern District of New York. The case was transferred to the Northern District of Texas, and

 7 then to the Central District of California.

 8            2.     The Debtor initially operated its business as a "debtor in possession," until on or

 9 about October 16, 2019, when the Court entered its Agreed Order Granting Motion for

10 Appointment of a Chapter 11 Trustee. On or about October 21, 2019, the Court approved the

11     appointment of Michael A. McConnell as the Chapter 11 trustee in this case.

12            3.     On or about August 9, 2019, an Official Creditor's Committee was appointed.

13            4.     Pursuant to an order entered on August 9, 2019(doc. no. 3~,the Court authorized

14 the Debtor to employ EPIQ Bankruptcy Solutions, LLC("EPIQ") as its claims and noticing agent,

15 among other things, to perform noticing services for the Debtor.

16

17 DATED: November Z~,2019                       DAMNING,GILL,ISRAEL & KRASNOFF,LLP

18

19
                                                 By:
20                                                     AARON E. DE LEEST
                                                       Attorneys for Michael A. McConnell,
21                                                     Chapter 11 Trustee
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                               EXHIBIT 1
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                       Chapter 11 Case.
In re:
                                                                       Case No. 19-12417(MEW)
  HVI CAT CANYON,INC.
                                     Debtor.

         ORDER APPROVING RETENTION AND APPOINTMENT OF
 EPIQ BANKRUPTCY SOLUTIONS,LLC AS CLAIMS AND NOTICING AGENT FOR
 DEBTOR UNDER 28 U.S.C. § 156(c), 11 U.S.C. § 105(a), AND S.D.N.Y. LBR 5075-1 AND
                      GRANTING RELATED RELIEF

                 Upon the application ("Application")~ of HVI Cat Canyon, Inc.("Debtor"), for an

 order pursuant to section 105 of title 11 of the United States Code §§ 101 et seq. ("Bankruptcy

 Code"), section 156(c) of title 28 of the United State Code and Rule 5075-1 of the Local

 Bankruptcy Rules for the United States Bankruptcy Court for the Southern District of New York

("Local Rules") for authority to appoint and retain Epiq Bankruptcy Solutions, LLC ("Epiq") as

 claims and noticing agent to Debtor, and upon consideration ofthe Application and the Declaration

 of Regina Amporfro in support thereof; and Debtor having estimated that there are in excess of

 1,000 creditors in this Chapter 11 case, many of which are expected to file proofs of claim; and it

 appearing that the receiving, docketing and maintaining of proofs of claim would be unduly tune

 consuming and burdensome for the Clerk; and the Court being authorized pursuant to 28 U.S.C. §

 156(c) to utilize, at Debtor's expense, outside agents and facilities to provide notices to parties in

 title 11 cases and to receive, docket, maintain, photocopy and transmit proofs of claim; and the

 Court being satisfied that Epiq has the capability and the experience to provide such services and

 that Epiq does not hold an interest adverse to Debtor or the estate respecting the matters upon

 which it is to be engaged; and the Court having jurisdiction to consider the Application and the


  Capitalized teens used but not defined herein shall have the meanings ascribed to them in the Application.



                                                      1 ~►                                                     1.

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relief requested therein in accordance with 28 U.S.C. §§157 and 1334 and the Amended Standing

Order of Reference M-431, dated January 31, 2012; and consideration of the Application and the

relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and due and proper

 notice of the Application having been provided; and it appearing that no other or further notice

 need be provided; and a hearing having been held to consider the reliefrequested in the Application

("Hearing"); and upon the record of the Hearing and all of the proceedings had before the Court;

 and the Court having found and determined that the relief sought in the Application is in the best

 interests of Debtor, it's estate, creditors and all parties in interest, and that the legal and factual

 bases set forth in the Application establish just cause for the relief granted herein; and after due

 deliberation and sufficient cause appearing therefor, it is

         ORDERED,that notwithstanding the terms of the Engagement Agreement attached to the

 Application, the Application is approved solely as set forth in this Order; and it is further

         ORDERED,that Debtor is authorized, pursuant to section 105(a)ofthe Bankruptcy Code,

 28 U.S.C. § 156(c), and Local Rule 5075-1, to retain Epiq, and that Epiq is hereby appointed as

 the claims and noticing agent, effective as of the Petition Date, under the terms and conditions set

 forth in the Engagement Agreement annexed hereto as "Exhibit 1" as modified by this Order; and

 it is further

         ORDERED, that paragraph 11.3 of the Engagement Agreement is stricken in its entirety

 and replaced with the following language:

       1 1.3 This Agreement shall be governed by the laws of the State of New York, without regard to
              that state's provisions for choice oflaw. Client and Epiq agree that any controversy or claim
              arising out of or relating to this Agreement or the alleged breach thereof shall be settled by
              the United States Bankruptcy Court for the Southern District ofNew York or any other U.S.
              Bankruptcy Court exercising jurisdiction over the Client's chapter 11 case.


 and it is further




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         ORDERED, that paragraphs 8(a) and 8(c) of the Engagement Agreement are stricken in

 their entirety; and it is further

         ORDERED, that Epiq shall be liable only for damages resulting from its willful

 misconduct or gross negligence; and it is further

         ORDERED,that Epiq, as the Claims and Noticing Agent, is directed to perform noticing

 services and to receive, maintain, record and otherwise administer the proofs of claim filed in this

 case, and all related tasks, all as described in the Application (collectively, the "Claims and

 Noticing Services"); and it is further

         ORDERED,that Epiq shall serve as the custodian ofcourt records and shall be designated

 as the authorized repository for all proofs of claim filed in these cases and is authorized and

 directed to maintain official Claims Registers for Debtor, to provide public access to every proof

 of claim unless otherwise ordered by the Court, and to provide the Clerk with a certified duplicate

 thereof upon the request of the Clerk; and it is further

         ORDERED,that Epiq is authorized and directed to obtain a post office box or address for

 the receipt of proofs of claim; and it is further

         ORDERED,that Epiq is authorized to take such other action to comply with all duties set

 forth in the Application; and it is further

         ORDERED,that Debtor is authorized to compensate Epiq in accordance with the terms of

 the Engagement Agreement upon the receipt of reasonably detailed invoices setting forth the

 services provided by Epiq and the rates charged for each, and to reimburse Epiq for all reasonable

 and necessary expenses it may incur, upon the presentation of appropriate documentation, without

 the need for Epiq to file fee applications or otherwise seek Court approval for the compensation of

 its services and reimbursement of its expenses; and it is further



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          ORDERED, that Epiq shall maintain records of all services performed, showing dates,

 categories of services, fees charged and expenses incurred, and shall serve monthly invoices on

 Debtor, U.S. Trustee, counsel to Debtor, counsel for any official committee appointed in this case,

 and any party-in-interest who specifically requests service ofthe monthly invoices; and it is further

          ORDERED, that the parties shall meet and confer in an attempt to resolve any dispute

 which may arise relating to the Engagement Agreement or monthly invoices, and that the parties

 may seek resolution of the matter from the Court if resolution is not achieved; and it is further

          ORDERED,that Epiq may hold its retainer under the Engagement Agreement during the

 chapter 11 case as security for the payment of fees and expenses incurred under the Engagement

 Agreement; and it is further

          ORDERED, that pursuant to section 503(b)(1)(A) of the Bankruptcy Code, the fees and

 expenses of Epiq under this Order shall be an administrative expense of Debtor's estate; and it is

further

          ORDERED, that Debtor shall indemnify Claims and Noticing Agent under the terms of

 the Engagement Agreement; and it is further

          ORDERED, that all requests by Claims and Noticing Agent for the payment of

 indemnification as set forth in the Application and/or Engagement shall be made by means of an

 application to the Court and shall be subject to review by the Court to ensure that payment of such

 indemnity conforms to the teens of the Application and/or Engagement Agreement and is

 reasonable under the circumstances of the litigation or settlement in respect of which indemnity is

 sought, provided however, that in no event shall Claims and Noticing Agent be indemnified in the

 case ofits own bad-faith, self-dealing, breach offiduciary duty (if any), gross negligence or willful

 misconduct; and it is further



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           ORDERED,that in the event that Claims and Noticing Agent seeks reimbursement from

Debtor for attorneys' fees and expenses in connection with the payment of an indemnity claim

 pursuant to the Application and/or Engagement Agreement, the invoices and supporting time

 records for the attorneys' fees and expenses shall be included in Claims and Noticing Agent's own

 applications, both interim and final, but determined by this Court after notice and a hearing; and it

 is further

           ORDERED,that if Epiq is unable to provide the Claims and Noticing Services, Epiq will

 immediately notify the Clerk and Debtor's counsel and, upon approval of the Court, cause to have

 all original proofs of claim and computer information turned over to another claims and noticing

 agent with the advice and consent of the Clerk and Debtor's counsel; and it is further

           ORDERED, that Debtor may submit a separate retention application, pursuant to 11

 U.S.C. § 327 and/or any applicable law, for work that is to be performed by Claims and Noticing

 Agent but is not specifically authorized by this Order; and it is further

           ORDERED,that Debtor and Claims and Noticing Agent are authorized to take all actions

 necessary to effectuate the relief granted pursuant to this Order in accordance with the Application;

 and it is further

           ORDERED,that, notwithstanding any term in the Engagement Agreement to the contrary,

 exclusive jurisdiction with respect to all matters arising from or related to the implementation of

 this Order; and it is further shall rest with the U.S. Bankruptcy Court exercising jurisdiction over

 the Debtor's chapter 11 case.

           ORDERED, that Epiq shall not cease providing claims processing services during the

 chapter 11 case for any reason, including nonpayment, without an order of the Court; and it is

 further




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        ORDERED,that in the event of any inconsistency between the Engagement Agreement,

 the Application and this Order, this Order shall govern.

 Dated: August 9, 2019

        New York, New York




                                                /s/ Michael E. Wiles
                                                UNITED STATES BANKRUPTCY NDGE




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                                                  Remit to
                                                  Epiq Corporate Restructuring LLC                Tax ID: XX-XXXXXXX
Epiq Corporate Restructuring LLC                  Dept 0255
777 Third Ave, 12th Floor                         P.O. Box 120255                For billin questions, call 913-621-9980
                                                  Dallas, TX 75312-0255          or billing ~a epigglobal.com
New York, NY 10017
                                                  Payment by Wire:
                                                  Bank:                                Silicon Valley Bank (Santa Clara, CA)
                                                  ABA Routing:                         121140399
                                                  Acct No:                             3300693042
Bill-To                                           SWIFT:                               SVBKUS6S
          HVI RE-ORIGANIZATION
          630 Fifth Avenue, Suite 2410
                                                  Information
          New York NY 10111                       I nvoice No.              90362912           Invoice Date     08/01/2019
                                                  Purchase Order No.
                                                  Customer No.              3011255
                                                  Currency                  USD
                                                  Contract No.              40036702
                                                  Contract Description      HVI Cat Canyon, Inc.
                                                  Terms of Payment          Payable upon receipt
                                                  I nternal Reference No    HVI




Comments
Post Petition Services from 7/25/2019- 7/31/2019



                                                                 Quantity      Unit       Unit Price                  Amount
Code             Service
CN300            Director/V.P. Consulting                          29.400       H            171.0000                 5,027.4C

CN200            Senior Consultant II                               1.900       H            158.0000                   300.2C

CN100            Senior Consultant I                               11.600       H            144.0000                 1,670.40

DM200            Director of Case Management II                     4.600       H            158.0000                   726.80

DM100            Director of Case Management I                     19.900       H            160.0000                 3,184.00

AS300            Senior Case Manager III                            2.600       H            148.5000                   386.10

AS200            Senior Case Manager II                             6.100       H            143.5000                   875.3

AS100            Senior Case Manager I                              3.300       H             133.0000                  438.90

CM200            Case Manager II                                    4.900       H             108.0000                  529.20

CM100            Case Manager I                                     0.600       H              63.0000                   37.80

AD300            Admin. Support III                                 1.100       H              40.5000                   44.5

OS815            Call Center Operator                               0.100        H             55.0000                    5.50

N0100            Noticing                                           7,333 PAG                      0.0800               586.64

N0100T           Noticing - In state                                1,221     PAG                  0.0800                97.68




                                                       '
                                                       "~'~                                        CONFIDENTI

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                                                                   Information
                                                                   I nvoice No.                   90362912                 I nvoice Date          08/01/2019
                                                                   Purchase Order No.
                                                                   Customer No.                   3011255
    Epiq Corporate Restructuring LLC
    777 Third Ave, 12th Floor
    New York, NY 10017




    Comments
    Post Petition Services from 7/25/2019- 7/31/2019


i

    Code                 Service                                                     Quantity        Unit           Unit Price                            Amount
    OS205                Facsimiles -Out of State                                             7 PAG                        0.0500                              0.3

    OS223                Envelope - #10                                                      14      EA                    0.0500                              0.7

    OS821                Voice Recorded Message                                           5.830     MIN                    0.3400                              1.9

    RE100                Postage                                                      800.800        EA                    1.0000                           800.8

    --------------------------------------------------------------------------------------------------------------------------------------------------------------
                 Net Amount                                                                                                                              14,714.35
                 Sales Tax                                                                                                                                    60.84
                Total Amount Due (USD)                                                                                                                  14,775.19
               --------------------------------------------------------------------------------------------------------------------------------------------------

    O en Items for Contract 400367U2 as of 11101/2019
    Trans. Date        Type               Reference                               Due Date                                  Amount                           Curr.
    08/01/2019         Invoice            90362912                                Upon Receipt                             14,775.19                          USD
    09/01/2019         Invoice            90371516                                Upon Receipt                             39,124.31                          USD
    10/01/2019         Invoice            90380595                                U on Recei t                             18,730.72                          USD
                                                                                 Total:                                    72,630.22                          USD




                                                                          ~~'~                                              CONFIDENTIAL
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                                                   Remit to
                                                   Epiq Corporate Restructuring LLC                Tax ID: XX-XXXXXXX
Epiq Corporate Restructuring LLC                   Dept 0255
777 Third Ave, 12th Floor                          P.O. Box 120255                For billin questions, call 913-621-9980
                                                   Dallas, TX 75312-0255          or billing ~a epigglobal.com
New York, NY 10017
                                                   Payment by Wire:
                                                   Bank:                                Silicon Valley Bank (Santa Clara, CA)
                                                   ABA Routing:                         121140399
                                                   Acct No:                             3300693042
 Biil-To                                           SWIFT:                               SVBKUS6S
           HVI RE-ORIGANIZATION
           630 Fifth Avenue, Suite 2410
                                                   Information
           New York NY 10111                       I nvoice No.              90371516           Invoice Date     09/01/2019
                                                   Purchase Order No.
                                                   Customer No.              3011255
                                                   Currency                  USD
                                                   Contract No.              40036702
                                                   Contract Description      HVI Cat Canyon, Inc.
                                                   Terms of Payment          Payable upon receipt
                                                   I nternal Reference No    HVI




 ', Comments
', Services for the month of August 2019



 Code            Service                                         Quantity       Unit       Unit Price                 Amount
 CN300           Director/V.P. Consulting                          84.800        H            171.0000                14,500.8(

 CN200           Senior Consultant II                                9.400       H            158.0000                 1,485.2(

 CN100           Senior Consultant I                                24.300       H            144.0000                 3,499.2(

 DM200           Director of Case Management II                     11.600       H            158.0000                 1,832.8(

 DM100           Director of Case Management I                      34.200       H            160.0000                 5,472.0(

 AS300           Senior Case Manager III                            18.100       H            148.5000                 2,687.8E

 AS200           Senior Case Manager II                             13.200       H            143.5000                 1,894.2(

 AS100           Senior Case Manager I                              11.700       H            133.0000                 1,556.1(

 SL100           Solicitation Consultant                             0.400       H            171.0000                   68.4(

 CM200           Case Manager II                                     3.600       H            108.0000                  388.8(

 CM100            Case Manager I                                    11.400       H             63.0000                  718.2(

 AD300           Admin. Support III                                 14.400       H             40.5000                  583.2(

 OS815            Call Center Operator                               1.300       H             55.0000                    71.5(

 N0100            Noticing                                           9,469 PAG                      0.0800              757.5




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                                                               Information
                                                               I nvoice No.                   90371516                Invoice Date           09/01/2019
                                                               Purchase Order No.
                                                               Customer No.                   3011255
Epiq Corporate Restructuring LLC
777 Third Ave, 12th Floor
New York, NY 10017



                                     ___
~ Comments
  Services for the month of August 2019




Code                Service                                                      Quantity    Unit              Unit Price                            Amount
N0100T              Noticing - In state                                               2,122 PAG                       0.0800                          169.76

OS224                Envelope - 6X9                                                     44       EA                   0.1500                              6.6

OS225                Envelope - 9x12                                                     90      EA                   0.2500                            22.5

OS223                Envelope - #10                                                   1,225      EA                   0.0500                            61.25

CA100                Database Maintenance                                             2,599 CRC                       0.0800                           207.92

OS200                Electronic Imaging                                                   6    IMG                    0.0800                              0.4

OS821                Voice Recorded Message                                        88.770      MIN                    0.3400                            30.1

RE100                Postage                                                    2,475.160        EA                   1.0000                         2,475.16

RE105                Shipping and Courier Fees                                         500     DLR                    1.0000                           500.00

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             Net Amount                                                                                                                              38,989.62
             Sales Tax                                                                                                                                   134.69
            Total Amount Due (USD)                                                                                                                  39,124.31
           --------------------------------------------------------------------------------------------------------------------------------------------------

O en Items for Contract 40036702 as of 11/01/2019
Trans. Date        Type               Reference                               Due Date                                 Amount                           Curr.
08/01/2019         Invoice            90362912                                Upon Receipt                            14,775.19                          USD
09/01/2019         Invoice            90371516                                Upon Receipt                            39,124.31                          USD
10/01/2019         Invoice            90380595                                U on Recei t                            18 730.72                          USD
                                                                             Total:                                   72,630.22                          USD




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                                                                                                                Invoice
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                                                    Remit to
                                                    Epiq Corporate Restructuring LLC                Tax ID: XX-XXXXXXX
Epiq Corporate Restructuring LLC                    Dept 0255
777 Third Ave, 12th Floor                           P.O. Box 120255                For billin questions, call 913-621-9980
                                                    Dallas, TX 75312-0255          or billing ~a epigglobal.com
New York, NY 10017
                                                    Payment by Wire:
                                                    Bank:                                Silicon Valley Bank (Santa Clara, CA)
                                                    ABA Routing:                         121140399
                                                    Acct No:                             3300693042
'Bill-To                                                                                 SVBKUS6S
                                                    SWIFT:
           HVI RE-ORIGANIZATION
           630 Fifth Avenue, Suite 2410
                                                    Information
           New York NY 10111                        Invoice No.               90380595           Invoice Date       10/01/2019
                                                    Purchase Order No.
                                                    Customer No.              3011255
                                                    Currency                  USD
                                                    Contract No.              40036702
                                                    Contract Description      HVI Cat Canyon, Inc.
                                                    Terms of Payment          Payable upon receipt
                                                    I nternal Reference No    HVI




Comments
Services for the month of September 2019



Code             Service                                          Quantity       Unit        UnfPrice                    Amount
CN300            Director/V.P. Consulting                            13.300       H            171.0000                  2,274.30

CN200            Senior Consultant II                                 3.300       H            158.0000                    521.40,

CN100            Senior Consultant I                                  8.200       H            144.0000                  1,180.80

DM200             Director of Case Management II                      0.800       H            158.0000                    126.40

DM100             Director of Case Management I                      32.700       H            160.0000                  5,232.06

AS300            Senior Case Manager III                                 13       H            148.5000                  1,930.50

AS200            Senior Case Manager II                              10.800       H            143.5000                  1,549.80

AS100            Senior Case Manager I                                7.900       H            133.0000                  1,050.70

CM200            Case Manager II                                      0.500       H            108.0000                     54.00

CM100             Case Manager I                                      7.800       H             63.0000                    491.40

AD300             Admin. Support III                                 21.400       H             40.5000                    866.70

N0100             Noticing                                            9,184 PAG                      0.0800                734.72

N0100T            Noticing - Instate                                  1,530 PAG                      0.0800                122.40

OS205             Facsimiles -Out of State                            1,013 PAG                      0.0500                 50.65




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                                                               Information
                                                               I nvoice No.                   90380595                Invoice Date           10/01/2019
                                                               Purchase Order No.
                                                               Customer No.                   3011255
Epiq Corporate Restructuring LLC
777 Third Ave, 12th Floor
New York, NY 10017




,-
'~ Comments
   Services for the month of September 2019




Code                 Service                                                     Quantity  Unit                Unit Price                            Amount
OS205T               Facsimiles - In State                                            238 PAG                        0.0500                            11.9

OS223                Envelope -#10                                                    1,188      EA                   0.0500                            59.40

CA100                Database Maintenance                                             2,603 CRC                       0.0800                           208.2

OS200                Electronic Imaging                                                131     IMG                    0.0800                             10.4

OS821                Voice Recorded Message                                         10.480     MIN                    0.3400                              3.56

RE100                Postage                                                    1,620.080        EA                   1.0000                         1,620.08

RE105                Shipping and Courier Fees                                         500     DLR                    1.0000                           500.0

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             Net Amount                                                                                                                              18,599.43
             Sales Tax                                                                                                                                   131.29
            Total Amount Due (USD)                                                                                                                  18,730.72
           --------------------------------------------------------------------------------------------------------------------------------------------------

O en Items for Contract 40036702 as of 11!01!2019
Trans. Date        Type               Reference                               Due Date                                 Amount                           Curr.
08/01/2019         Invoice            90362912                                Upon Receipt                            14,775.19                          USD
09/01/2019         Invoice            90371516                                Upon Receipt                            39,124.31                          USD
10/01/2019         Invoice            90380595                                U on Recei t                            18 730.72                          USD
                                                                             Total:                                   72,630.22                          USD




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                               EXHIBIT 3
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                                                                                            1901 AVENUE OP THE STARS
AARON E. DE LEEST                                                                                          SUITE 450
ASSOCIATE
                                                                                 LOS ANGELES, CALIFORNIA IOO67-6006

                                                                                                (310)277-0077 — TeL
E-MAIL ADDRESS:                                                                                 (310)277-5735 —FAx
ADELEEST@DANNiNGGILL.COM
                                   DAMNING GILL
                                            November 15, 2019



    Epiq Corporate Restructuring, LLC
    Attn: Robert A. Hopen
    777 Third Avenue, 12th Floor
    New York, NY 10017

     Re:     HVI Cat Canyon, Inc., Debtor
             Case No. 9:19-bk-11573-MB

     Dear Mr. Hopen:
                                                                                       for the estate
     This firm represents Michael A. McConnell, the Chapter 11 trustee (the "Trustee")
                                                                                   The Debtor's
     of HVI Cat Canyon, Inc.(the "Debtor"), Bankr. Case No. 9:19-bk-11573-MB.
                                                                                 District of
     bankruptcy case is now pending in the U.S. Bankruptcy Court for the Central
     California, Northern Division.
                                                                                         g Motion for
     As you may know, on October 16, 2019, the Court entered its Agreed Order Grantin
                                                                                    21, 2019, Mr.
     Appointment of a Chapter 11 Trustee (docket no. 409). Thereafter, on October
                                                                          no. 418) and, on October
     McConnell was appointed as the Trustee by the U.S. Trustee (docket
     22, 2019, the Court approved the Trustee's appointment in this case (docket no. 431).
                                                                                               by the
     The Trustee is informed that Epiq Corporate Restructuring, LLC ("Epiq") was retained
                                                                                               be
     Debtor, on an as needed basis, to act as the Debtor's claims and noticing agent. Please
                                                                                                will not
     advised that, effective as ofthe date of his appointment(October 21, 2019), the Trustee
                                                                                          tes those
     be using Epiq as his claims and noticing agent and, to the extent necessary, termina
     services.

     Please feel free to give me a call if you would like to discuss this matter further.

      Sincerely,



      Aaron E. de Leest

      AED:bev




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                                     PROOF OF SERVICE OF DOCUMENT
 am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): TRUSTEE'S NOTICE OF MOTION AND MOTION FOR
ORDER TERMINATING EMPLOYMENT OF EPIQ BANKRUPTCY SOLUTIONS LLC~ MEMORANDUM OF POINTS AND
AUTHORITIES. DECLARATIONS OF MICHAEL A. McCONNELL AND AARON E. DE LEEST, AND REQUEST FOR
JUDICIAL NOTICE IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On November 27,
2019 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                      D Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On November 27, 2019 , I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtor                                          Debtor                                             The Honorable Martin R. Barash
HVI Cat Canyon, Inc.                            HVI Cat Canyon,lnc.                                U.S. Bankruptcy Court
c/o Capitol Corporate Services, Inc.            630 Fifth Avenue, Suite 2410                       21041 Burbank Blvd., Suite 342
36 S. 18th Avenue, Suite D                      New York, NY 10111                                 Woodland Hills, CA 91367
Brighton, CO 80601

EPIQ Corporate Restructuring, LLC
Attn: Robert A. Hopen
777 Third Avenue, 12'h Floor
New York, NY 10017


                                                                                       ❑ Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on November 27, 2019 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                       ❑ Service information continued on attached page.

 declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



                                                                                                          C ;'
 November 27, 2019                       Beverly Lew
 Date                                    Printed Name                                          Signature         __i




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                             ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")
William C Beall on behalf of Creditor GLR, LLC             will@beallandburkhardt.com, carissa@beallandburkhardt.com

Alicia Clough on behalf of Creditor California State Lands Commission
aclough@loeb.com, mnielson@loeb.com,ladocket@loeb.com

Marc S Cohen on behalf of Creditor California State Lands Commission                      mscohen@loeb.com, klyles@loeb.com

Alec S DiMario on behalf of Creditor Direct Energy Business Marketing, LLC d/b/a Direct Energy Business
alec.dimario@mhllp.com, debra.blondheim@mhllp.com;Syreeta.shoals@mhllp.com

Alec S DiMario on behalf of Creditor Direct Energy Business, LLC
alec.dimario@mhllp.com, debra.blondheim@mhllp.com;Syreeta.shoals@mhllp.com

Karl J Fingerhood on behalf of Interested Party United States of America on behalf of USEPA and US Coast Guard
karl.fingerhood@usdoj.gov, efile_ees.enrd@usdoj.gov

H Alexander Fisch on behalf of Interested Party California Department of Fish &Wildlife
AIex.Fisch@doj.ca.gov

H Alexander Fisch on behalf of Interested Party California Regional Water Quality Control Board, Central Coast
Alex.Fisch@doj.ca.gov

Don Fisher on behalf of Interested Party Interested Party             dfisher@ptwww.com, tblack@ptwww.com

Brian D Fittipaldi on behalf of U.S. Trustee United States Trustee              brian.fittipaldi@usdoj.gov

Gisele M Goetz on behalf of Interested Party Courtesy NEF                gmgoetz@hbsb.com, ggoetz@collegesoflaw.edu

Karen L Grant on behalf of Creditor BUGANKO, LLC                      kgrant@silcom.com

Ira S Greene on behalf of Interested Party CTS Properties, Ltd.                 Ira.Greene@lockelord.com

Matthew C. Heyn on behalf of Creditor Department of Conservation, Division of Oil, Gas and Geothermal Reources
Matthew.Heyn@doj.ca.gov, mcheyn@outlook.com

Brian L Holman on behalf of Creditor Bradley Land Company                       b.holman@musickpeeler.com

Eric P Israel on behalf of Attorney Courtesy NEF
eisrael@dgdk.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com

Eric P Israel on behalf of Trustee Michael Authur McConnell (TR)
eisrael@dgdk.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com

Razmig Izakelian on behalf of Creditor GIT, Inc.            razmigizakelian@quinnemanuel.com

Alan H Katz on behalf of Interested Party CTS Properties, Ltd.                  akatz@lockelord.com

John C Keith on behalf of Creditor California State Lands Commission                       john.keith@doj.ca.gov

Jeannie Kim on behalf of Interested Party Pacific Gas and Electric Company jkim@friedmanspring.com

Maxim B Litvak on behalf of Creditor Committee Official Committee of Unsecured Creditors                        mlitvak@pszjlaw.com

 Michael Authur McConnell (TR)          Michael.mcconnell@kellyhart.com

 Brian M Metcalf on behalf of Interested Party UBS AG, London Branch                       bmetcalf@omm.com

 David L Osias on behalf of Creditor Allen Matkins Leck Gamble Mallory & Natsis LLP
 dosias@allenmatkins.com, bcrfilings@allenmatkins.com,kdemorest@allenmatkins.com,csandoval@allenmatkins.com
         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

 June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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Darren L Patrick on behalf of Interested Party UBS AG, London Branch                      dpatrick@omm.com, darren-patrick-
1373@ecf.pacerpro.com

Jeffrey N Pomerantz on behalf of Creditor Committee Official Committee of Unsecured Creditors
jpomerantz@pszjlaw.com

Todd C. Ringstad on behalf of Interested Party Interested Party                 becky@ringstadlaw.com, arlene@ringstadlaw.com

Mitchell E Rishe on behalf of Creditor California Department of Conservation, Division of Oil, Gas &Geothermal Resources
mitchell.rishe@doj.ca.gov

Mitchell E Rishe on behalf of Creditor Department of Conservation, Division of Oil, Gas and Geothermal Reources
mitchell.rishe@doj.ca.gov

Sonia Singh on behalf of Trustee Michael Authur McConnell (TR)
ssingh@DanningGill.com, danninggill@gmail.com,ssingh@ecf.inforuptcy.com

Daniel A Solitro on behalf of Interested Party CTS Properties, Ltd.             dsolitro@lockelord.com, ataylor2@lockelord.com

Ross Spence on behalf of Interested Party County of Santa Barbara, California
ross@snowspencelaw.com,
janissherrill@snowspencelaw.com;donnasutton@snowspencelaw.com;brittanyDecoteau@snowspencelaw.com

Ross Spence on behalf of Interested Party Harry E. Hagen, as Treasurer-Tax Collector of the County of Santa Barbara,
California
ross@snowspencelaw.com,
janissherrill@snowspencelaw.com;donnasutton@snowspencelaw.com;brittanyDecoteau@snowspencelaw.com

Ross Spence on behalf of Interested Party Santa Barbara Air Pollution Control District
ross@snowspencelaw.com,
janissherrill@snowspencelaw.com;donnasutton@snowspencelaw.com;brittanyDecoteau@snowspencelaw.com

Christopher D Sullivan on behalf of Creditor Diamond McCarthy LLP
csullivan@diamondmccarthy.com, mdomer@diamondmccarthy.com;kmartinez@diamondmccarthy.com

Jennifer Taylor on behalf of Interested Party UBS AG, London Branch                       jtaylor@omm.com

John N Tedford on behalf of Trustee Michael Authur McConnell (TR)
jtedford@DanningGill.com, danninggill@gmail.com;jtedford@ecf.inforuptcy.com

Salina R Thomas on behalf of Interested Party Courtesy NEF                      bankruptcy@co.kern.ca.us

Salina R Thomas on behalf of Interested Party Kern County Treasurer Tax Collector
bankruptcy@co.kern.ca.us

Patricia B Tomasco on behalf of Creditor GIT, Inc.
pattytomasco@quinnemanuel.com, barbarahowell@quinnemanuel.com;cristinagreen@quinnemanuel.com

Fred Whitaker on behalf of Interested Party Eller Family Tr~~st                 Ishertzer@cwlawyers.com

William E. Winfield on behalf of Attorney Courtesy NEF                wwinfield@calattys.com, scuevas@calattys.com

Richard Lee Wynne on behalf of Interested Party NewBridge Resources, LLC
richard.wynne@hoganlovells.com, tracy.southwell@hoganlovells.com;cindy.mitchell@hoganlovells.com

Emily Young on behalf of Creditor Epiq Corporate Restructuring, LLC Claims Agent
pacerteam@gardencitygroup.com, rjacobs@ecf.epigsystems.com;ECFlnbox@epigsystems.com

Aaron E de Leest on behalf of Trustee Michael Authur McConnell (TR)
adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com



         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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